     Case 0:23-cv-60600-RAR Document 1-3 Entered on FLSD Docket 03/28/2023 Page 1 of 1

                                                       Exhibit A
                                                 Statement of Claim
                                             Plaintiff Allen Lynn Roche

Unpaid Overtime and Minimum Wages
                              Average                   FLSA       Minimum        Total        Total
                                                                                                            Total
                     Weeks¹
                              Weekly        Amount    Equivalent    Wage         Unpaid       Unpaid
      Period¹                                                                                            Liquidated
                               Hours         Paid¹      Hourly      Hourly      Minimum      Overtime
                                                                                                         Damages¹
                              Worked¹                   Rate¹        Rate        Wages¹       Wages¹
  4/4/22 - 4/8/22    0.71               $       -     $      -                 $   546.43   $   130.36   $   676.79
 3/28/22 - 4/3/22    1.00      76.5       $1,243.10   $    16.25   $   10.00   $       -    $   296.56   $   296.56
 2/28/22 - 3/27/22   4.00               $       -     $      -                 $ 3,060.00   $   730.00   $ 3,790.00
                                                                               $ 3,606.43   $ 1,156.91   $ 4,763.34

                                                                       Total Unpaid Minimum Wages¹ =     $   3,606.43
                                                                       Total Unpaid Overtime Wages¹ =    $   1,156.91
                                                                          Total Liquidated Damages¹ =    $   4,763.34
                                                                                              Total¹ =   $   9,526.68




¹ Numbers are averages, estimates, and/or approximates. Numbers may change as information is uncovered through the
discovery process.
